CaS€ 8-17-73721-&8'[ DOC 30 Filed 01/12/18 Entered 01/12/18 14240:19

PRESENTMENT DATE; JANUAR`Y 30, 2018 @ 9:30 A.M.
UNITE.D STATES BANKRUPTCY COURT osIECTIONs, iF ANY, DUE: JANUARY 26, 2018 @ 9;30 A.M.
EASTERN DISTR_ICT OF NEW YORK HEARING, IF oBJECTIoNs FILED: To BE DETERMH~`IED
__________________________________________________________ X '
In Re'. ` l Chapter 7-
Franl< Vincent Belmonte, ' ` Case No. 817-73 721-735

Debtor.

_______________ i______s_____-____-_-t_-_w--____-________X

Notice of Presentment of an Order Authorizing the Trustee to Retain Prerniurn
Group Realtv LLC and DeCarolis Realtv, LLC as the Trustee’s Real Estate Brol<;ers

PLEASE TAKE NOTICE, that upon the motion (the “l\/lotion”) of Marc A.
Pergarnent, the Chapter 7 Trustee (the_“Trustee”) of the estate of Franl< Vincent Belmonte (the
“Debtor”), by his attorneys,_Weinberg,` Gross & Pergament LLP, the Trustee Will seek an Order:
(a) authorizing l\/Iarc A. Pergament, Chapter 7 Trustee, to retain Premium Group Realty LLC and
DeCarolis Realty, LLC nunc pro tunc as of September l2, 2017 as the Trustee’s co-exclusive real
estate brokers; and '(b) grant such other and further relief as this Court deems just and proper, and
the Order Will be presented to the Honorable Alan S. Trust, United States Banl<ruptcy Judge,
United States Bankruptcy Court, Alfonse M. D’Amato Courthouse, 290 Federal Plaza, Room 760,
Central Islip, New York 11722 on lanuary 30, 2018 at 9:3-0 a.m.

PLEASE TAKE FURTHER NOTICE, that objections to the Trustee’s
application, if any, must be filed as folloWs'. (a) (i) through the Bankruptcy Court’s electronic
. filing system (in accordance With Order No. 476), Which may be accessed through the lnternet at the
Banl<ruptcy Court’s Website: Www.nyeb.uscourts.gov, and (ii) in portable document format (PDF)
using Adobe Exchange software for conversion; or (b) if a party is unable to tile electronicallyJ such
party shall submit the objection in PDF format on a disl<;ette in an envelope With the case name, case

number, type and title of document, document number of the document to Which the objection

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refers, and the file name on the outside of the envelope A hard copy of the obj ection, Whether filed
pursuant to section (a), (b) or (c), as set forth in this paragraph, shall be hand-delivered directly to
the Chambers of the Honorable Alan S. Trust, and a hard copy shall be served upon the Trustee’s l
counsel, Weinberg, Gross & Pergament LLP, 400 Garden City Plaza, Suite 403, Garden City,
l\levv' York 11530, At'tention: Marc A. Pergament, Esq., the Office of the United States Trustee, -
Alfon_se l\/l. D’Amat'o Courthouse, 560 Federal' Plaza, Central lslip, Nevv Yorl< 11722, and filed
With the Clerk of the Bankruptcy Court, With a copy to chambers on or before January 26, 2018.
PLEASE TAKE FURTHER NOTICE, that in the event anyone Wishes to review
the l\/Iotion, such party may do so by contacting the undersigned n
l Please be advised that if an objection is timely filed to the relief requested, or
if the Court determines that a hearing is appropriate, the Court Will schedule a hearing.
Notice of such a hearing Will be provided by the movant.

Dated: Garden City, N_ew Yorl<
January 2, 2018

Weinberg, Gross & Pergament LLP

Attorneysé:(“l;u: _
By: ` M-.”

l\/iarc A. Pverg`ament

400 Garden City Plaza, Suite 403
Garden City, New York 11530
(516) 877-2424

